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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                                                                                     September 24, 2021
                             UNITED STATES DISTRICT COURT
                                                                                      Nathan Ochsner, Clerk
                              SOUTHERN DISTRICT OF TEXAS
                                   MCALLEN DIVISION

UNITED STATES OF AMERICA,                         §
                                                  §
VS.                                               § CIVIL ACTION NO. 7:20-CV-00433
                                                  §
3.070 ACRES OF LAND, MORE OR                      §
LESS, et al,                                      §
                                                  §
           Defendants.                            §

                                      FINAL JUDGMENT

          Now before the Court is the “Stipulation for Revestment and Motion for Final Judgment”

(Dkt. No. 38) entered by Plaintiff, the United States of America (“United States”), and

Defendants, Luis Ernesto Gonzalez and Sonia Gonzalez, in the above-styled condemnation

action.

          The United States filed a Declaration of Taking condemning Tract RGV-RGC-6052

which is more specifically described in Schedules “C”, “D”, and “E”. (Dkt. No. 2). Pursuant to

40 U.S.C. § 3117, the United States may agree or stipulate to the revestment of condemned

property to resolve condemnation cases.

          On September 21, 2021, the Parties filed their Stipulation of Revestment, whereby the

United States and Defendants Luis Ernesto Gonzalez and Sonia Gonzalez jointly stipulated and

agreed that all right, title, and interest acquired by the United States associated with or

appurtenant to Tract RGV-RGC-6052 have been REVESTED in Defendants as they existed

immediately before the time of the filing of the Declaration of Taking, and title vesting in the

United States. Defendants further accepted such REVESTMENT of Tract RGV-RGC-6052.

          Accordingly, pursuant to the Stipulation entered by the United States and Defendants, it


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is hereby ORDERED and ADJUDGED that Tract RGV-RGC-6052 has been REVESTED

back to Defendants Luis Ernesto Gonzalez and Sonia Gonzalez.

       It is further ORDERED and ADJUDGED that:

   A. The United States’ estimate of just compensation remains on deposit in the Court’s
      Registry and the Court now ORDERS the Clerk of Court to DISBURSE the following
      sum, along with any accrued interest earned thereon while on deposit, payable as follows:

              The sum of $23,470.00, with any accrued interest, payable to “F&A Officer,
               USAED, Fort Worth,” with the check referencing “Tract No. RGV-RGC-6052.”

   B. Defendants warrant they were the owners of the interest in the property taken in this
      proceeding on the respective date of taking.

   C. The Parties shall be responsible for their own legal fees, costs, and expenses, including
      attorneys’ fees, consultants’ fees, and any other expenses or costs.

   D. The Parties shall take no appeal from any rulings or judgment made by the Court in this
      action, and the parties consent to the entry of all motions, orders, and judgments
      necessary to make this stipulated judgment.

   E. This order is binding on the heirs, trustees, executors, administrators, devisees,
      successors, assigns, agents, and representatives of Defendants.

       The United States is further ORDERED to record this Final Judgment and the

Stipulation of Revestment with the Official Records of Starr County, Texas, so as to provide

notice with county deed records.

       This case is terminated, and the Clerk of the Court is instructed to close the case.


       SO ORDERED this 24th day of September, 2021, at McAllen, Texas.


                                                  ___________________________________
                                                  Randy Crane
                                                  United States District Judge




2/2    Kathy Nguyen
         9/24/2021
